Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 1 of 17

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

_ Civil Action No,: 07-cv-00371-RPM-MEH

CHARLES CALDWELL and
VICKI CALDWELL,

Plaintiffs,
V5.

THE COUNTY OF PARK, a body corporate and politic and a political subdivision of the State
of Colorado,

FRED WEGENER,

MONTE GORE,

GREGORY 5. FLINT,

STEVEN GROOME,

SHAWNA WHITEOWL, and

MARK DAMON

Defendants.

 

DEFENDANTS MARK DAMON’S AND SHAWNA WHITEOWL’S JOINT MOTION
FOR SUMMARY JUDGMENT

 
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 2 of 17

TABLE OF CONTENTS

INTRODUCTION ... cc ccec reece rceeneeceennsesseeessresenues 2
STANDARD OF REVIEW FOR SUMMARY JUDGMENT .......... 3
ARGUMENT ..... ess ceererseees ccueeaeeteneees Se sateeeees 4

Plaintiffs Cannot Sustain a § 1983 Claim Against
Defendants Damon and Whiteow! .......... 0.00 c ere ee eee 4
Violation of a Right Secured by the Constitution ........ 4
Act Under Color of State Law ......-.+- cee eeeeereeee 9

CONCLUSION 2... cc cece cece eee rene eee eeereeeeereeenaeaees 13

li
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 3 of 17

TABLE OF AUTHORITIES

Adickes v. 8. H. Kress & Co.,
398 US. 144 (1970) 00 cee cent eee eeaebens 9

Allfstate Ins. Co. v. Lewis,
732 F. Supp. 1112 (D. Colo. 1990)... eens 3

Amold v. International Business Machines,
aT aa tensaitm tage
637 F.2d 1350 (9% Cir, 1981)... 0c cece cece cere e cence rene neeees 12

Benavidez v. Gunnell,
722 F.2d 615 (10° Cir. 1983)... 0. eee Lee eaeeeee 12

Butler v. Goldblatt Bros., Inc.,
589 F.2d 323 (7 Cir, 1978), cert. denied, 444 US. 841,
100 8.Ct. 82, 62 L.Ed.2d 53 (1979)... ee eee 11,12

Celotex Corp. v. Catrett,
477 US. 317 (1986) tetas tees 3

Cinel v. Connick,
15 F.3d 1338 (5" Cir. 1994) 00 eee eee eee eee eee ee 5

Daniel v. Ferguson,
839 F.2d 1124 (5 Cir, 988)... cece cece eevee erent reer earn eeenee 12

Grow v. Fisher, a. mo
523 F.2d 875 (7 Cit, 1975) ccc e cece eevee evens vaeveevsaneaenes 5,7

Holdeman v. Consolidated Rail Corp.,
649 F, Supp. 1188 (N.D, Ind, 1986), aff'd, 840 F.2d 20 (7 Cir, 1988)..... 5,12

Kraemer v. Padgett,
685 F, Supp. 1166 (D. Kan. 1987)... ccc eee er eee eee eee ees 12

Lugar v. Edmondson Oil Co., Inc.,
457 U.S. 922 (1982)........ cece cee eee etree aetarbeenueeayens 9

NCAA v. Tarkanian,
488 US. 179 (1988). eee eens 9,10

Mark v. Furay,
769 F.2d 1266 (7" Cir, 1985)... ccc cece cere een eeeeeeeneenes 12
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 4 of 17

Ree ke Ra a a aaa ee ee

Occhino v. Lannon,
150 F.R.D. 613 (D. Minn. 1993)... cee ete ener eaees

Parker v. Hearn,
695 F, Supp. 1421 (E.D.NLY. 1988)... 000 cee eee eee

Sarmiento v. Texas Board of Veterinary Medical Examiners,
939 F.2d 1242 (5™ Cir. 1991)... cece cece cee eee eee ees

sims v. Jefferson Downs Racing Association,
778 F.2d 1068 (5™ Cir, 1985)... ccc cece sea e nee eeees bveeeeenees

Taliaferro v. Voth,
774 F. Supp. 1326 (D. Kan. 1991)... 0. eee eee eee

Tarkowski v. Robert Bartlett Realty Co.,
644 F.2d 1204 (7 Cir. 1980)... eee eee eee ees

United States v. Price,
383 U.S. 787 (1966). 0... cn ce eer e eee eeeenes

West v. Atkins,
— ABT US. 42 (1988) cece eee eens

Wilson v. Titan Indemn. Co.,
508 F.3d 971 qo" Cir. 2007)... cee eens eaeeae

Young v. Arkansas Children’s Hosp.,

iv
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 5 of 17

Defendants Mark Damon and Shawna Whiteowl (collectively referred to as the “Civilian
Defendants” in Plaintiffs’ Complaint), by and through their respective undersigned counsel, and
pursuant to FED.R.CIv.P. 56, hereby submit this Joint Motion for Summary Judgment. In
support of their motion, Defendants states as follows:

L INTRODUCTION

Plaintiffs Charles and Vicki Caldwell (hereinafter “Plaintiffs”) initiated this action
following the termination of Plaintiffs’ employment at the Park County Sheriff's Office. Despite
the fact that Plaintiffs have begrudgingly admitted that: (1) Charles Caldwell was officially
terminated from his employment for lying on his job application (see Complaint at J 12), and (2)
Vicki Caldwell voluntarily resigned from her position at the Park County Sheriff's Office (see
Complaint at J 18), Plaintiffs have taken the position that they were actua/ly terminated (Ms.
Caldwell’s resignation and a total lack of independent corroborating evidence notwithstanding)
because of an investigation undertaken by Detective Flint into alleged criminal activity in the
“Webber Park” area, a locale in which the Plaintiffs, Mr. Damon, and Ms. Whitcowl maintained
residences. Plaintiffs have alleged that they were denied “a meaningful hearing to refute the
wholly false and severely damaging information related in the report of this investigation.” See
Complaint at { 1. It is the Plaintiffs’ contention that the Defendants, Mr. Damon and Ms.
Whiteowl, “willfully participated in joint activity” with the Park County Sheriffs Office to
“violate the Plaintiffs’ due process rights.” As such, Plaintiffs have filed a 42 U.S.C. § 1983
action against Mr. Damon, Ms. Whiteowl, and their fellow defendants.' This Motion for

Summary Judgment concerns Plaintiffs’ claim for relief under § 1983. For the reasons set forth

 

' Defendants Damon and Whiteowl are similarly situated and the allegations made against them are virtually
identical, namely that Damon and Whiteow! told “Detective Flint a number of patently false and slanderous things
about the Plaintiffs in order to have him convey these mistruths to his superiors, all with the design of petting the
Plaintiffs fired from their jobs.” See Complaint at 7 11.
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 6 of 17

below, Defendants Damon and Whiteowl are entitled to summary judgment as a matter of law in
regard to Plaintiffs’ § 1983 claim.
II. THE STANDARD OF REVIEW FOR SUMMARY JUDGMENT
Summary judgment is proper when the pleadings, depositions, answers to interrogatorics,
_and admissions on file, together with affidavits, if any, establish that there are no genuine issues
as to any material fact and that the moving party is entitled to judgment as a matter of law.
FED.R.CW.P, 56; Wilson v. Titan Indem. Co., 508 F.3d 971 (10" Cir. 2007); Celotex Corp. v,
Catrett, 477 U.S. 317 (1986). Rule 56 mandates the entry of summary judgment, after adequate
time for discovery and upon motion, against a party who fails to make a showing sufficient to
establish the existence of an element essential to that party’s case, and on which that party will
bear the burden of proof at trial. Celotex, 477 U.S. at 322. The party seeking summary
judgment bears the initial burden of demonstrating the absence of a genuine issue of material
fact. Id. at 323.

When the party moving for summary judgment has successfully carried the burden of
establishing the absence of a genuine issue of material fact, the burden shifts to the non-moving
party to establish specific facts showing that there is a genuine issue for trial. Allstate Ins: Co. v.’
Lewis, 732 F. Supp. 1112, 1114 (D. Colo. 1990). The non-moving party may not rely merely on
allegations in its own pleadings; rather, its response must set out specific facts showing that there
is a genuine issue for trial. FED.R.CIV.P. 56(c); Celotex Corp., 477 U.S. at 324 (non-moving
party must, by its own affidavits or by the depositions, answers to interrogatories, and

admissions on file, designate specific facts showing there is a genuine issue for trial).
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 7 of 17

Hl. ARGUMENT

A. Plaintiffs Cannot Sustain a § 1983 Claim Against Defendants Damon and Whiteowl

In order to state a claim under § 1983, a plaintiff must allege the violation of a mght
secured by the Constitution and laws of the United States, and must show that the alleged
deprivation was committed by a person acting under color of state law. West v. Atkins, 487 U.S.
42, 48 (1988). In the present case, Plaintiffs have sought to satisfy these elements by alleging
that the Defendants, Damon and Whiteowl, were “willful participants in joint activity with the
Defendant officials and officers of Park County, with the intent to violate the Plaintiffs’ due
process rights.” See Complaint at 432. However, as is demonstrated in more detail below, the
Plaintiffs have failed to establish either that Mr. Damon or Ms. Whiteow! violated the Plaintiffs’
constitutional rights or that Mr. Damon or Ms. Whiteowl acted “under color of state law.”

1. Violation of a Right Secured by the Constitution

It is not within the purview of this Motion for Summary Judgment to say whether or not
the Plaintiffs have managed to state a § 1983 claim against the other defendants in this action.

The present Motion is only concerned with the fact that the Plaintiffs have failed to set forth any

allegation that Mr. Damon or Ms. Whiteowl violated the constitutional rights for which Plaintiffs -

seek redress. By examining Plaintiffs’ allegations piece by piece, it becomes clear that any
constitutional violation claimed by Plaintiffs was committed, if at all, by the “County

Defendants,” and not by Defendants Damon or Whiteowl. Plaintiffs’ First Claim for Relicf

alleged the following:

Detective Flint and the civilian Defendants acted in concert as part
of a joint activity to place defamatory information before the
public employer of the Plaintiffs, and the County Defendants
thereafter acted in concert to use this defamatory information to
terminate the employment of the Plaintiffs, in the process denying
them due process guaranteed them by the United States

4
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 8 of 17

Constitution, Amendments 5 and 14, damaging not only their
present employment status, but compromising their future
employability as well, in an effort to chill these Plaintiffs’ rights
under the First Amendment to the United States Constitution to
support a candidate for the office of Sheriff which these
Defendants opposed.
See Complaint at J 33.
Plaintiffs first allege that Defendants Damon and Whiteowl “acted in concert” with
Detective Flint “as part of a joint activity to place defamatory information before the public
~ employer of the Plaintiffs.” However, apart from these conclusory allegations, Plaintiffs have
failed to identify any evidence which would support a claim that either Defendant Damon or
Whiteowl had entered into a conspiracy with Detective Flint, or any other member of the Park
County Sheriff's Office for that matter, to violate the Plaintiffs’ constitutional rights. As noted
by the court in Grow v. Fisher, 523 F.2d 875, 878-79 (7 Cir. 1975):
{E]ven if we were to assume [...] that the “in concert” allegation
was sufficiently specific to support a claim of conspiracy, there
still must be some basis more than conclusionary allegations that
there was an agreement under color of state law to violate the
plaintiff's constitutional rights, privileges or immunities.
See also Moore v. Marketplace Restaurant, Inc., 754 F.2d 1336, 1352 (7" Cir. 1985) (“in order
to establish a conspiracy, the plaintiff must demonstrate that the state officials and the private
party somchow reached an understanding to deny the plaintiffs their constitutional rights”);
Holdeman vy. Consolidated Rail Corp., 649 F. Supp. 1188, 1196 (N.D. Ind. 1986) (“[Bare]
allegations of certain statements by a defendant without any other proof of a conspiracy, are
insufficient to sustain a conspiracy claim. [...] A party carmot merely cry ‘conspiracy’ and throw

itself on the mercy of the jury”); Cinel v. Connick, 15 F.3d 1338, 1343 (5" Cir. 1994) (“To

support his conspiracy claims, Appellant must allege facts that suggest: 1) an agreement between
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 9 of 17

the private and public defendants to commit an illegal act, and 2) an actual deprivation of
constitutional rights”).

In the present case, Plaintiffs have failed to produce any evidence of a “conspiracy”
between Defendants Damon and Whiteowl and any member of the Park County Sheriff's Office
to deprive Plaintiffs of their constitutional rights. In fact, when asked to provide the factual basis
for the allegation that Mr. Damon provided information to Detective Flint “in order to have
[Detective Flint] convey those mistruths to his superiors, all with the design of getting Plaintiffs
fired from their jobs” (see Complaint at { 11), Plaintiffs responded: “It is logical to believe that
the Sheriff's Office investigators have to teport illegal acts alleged against Sheriff's Office
employees to their supervisors” and that “It is logical to believe that any Sheriffs Office
employee, against whom allegations of criminal wrongdoing are made, stands to lose his job as a
result of the allegations.” See Plaintiffs’ Responses to Interrogatories No, 6 and 7, attached
hereto as Exhibit 1.

Notably absent from Plaintiffs’ response was any evidence which would indicate: (1) an
agreement to violate Plaintiffs’ constitutional rights; (2) Mr. Damon’s intent to place the
intormation in front of Plaintiffs’ employers; or (3) Mr. Damon’s intent to effect the Plaintiffs”
employment. Plaintiffs’ responses to Mr. Damon’s discovery requests have sought to do nothing
other than parrot the allegations of the Complaint while adding small doses of Plaintiffs’ own
brand of “logic.”

Similarly, during the deposition testimony of Defendant Whiteowl, Plaintiffs failed to
elicit any testimony that would establish that any of the statements made by Ms. Whiteowl to
Detective Flint were made with the intent to affect the ongoing employment of the Plaintiffs, or

that there was any agreement between Defendant Whiteowl, Damon and Detective Flint to
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 10 of 17

deprive Plaintiffs of any constitutional rights. See Deposition transcript of Shawna Whiteowl,
attached hereto as Exhibit 2.

Plaintiffs’ misplaced reliance on the allegations of the Complaint, coupled with their
failure to “set out specific facts” or present any evidence that these Defendants conspired in any
way has doomed Plaintiffs’ due process claim and requires summary judgment be granted in
favor of Mr. Damon and Ms. Whiteowl.

In addition to alleging a conspiracy between Mr. Damon, Ms. Whiteowl and Detective
Flint, Plaintiffs’ First Claim for Relief goes on to allege yet another conspiracy by the “County
Defendants,” claiming that they “acted in concert to use [the information provided by Mr.
Damon, Ms. Whiteowl and Detective Flint] to terminate the employment of the Plaintiffs” at the
Park County Sheriff's Office.” According to the Plaintiffs, the actions of the “County
Defendants,” in terminating Plaintiffs’ employment, violated their due process rights. This
allegation is also echoed in the first paragraph of the Complaint, in which Plaintiffs claimed that
they “have been deprived of liberty interests without due process of law, never have been given
the opportunity in a meaningful hearing to refute the wholly false and severely damaging
information related in the report of this investigation.” See Complaint at q 1.’

Apart from the fact that the allegations against Mr. Damon, Ms, Whiteowl and the
“County Defendants” are contained in the same run-on sentence, there is absolutely no
connection between Mr, Damon’s and Ms. Whiteowl’s actions as confidential informants and the

denial of due process as claimed by the Plaintiffs. Plaintiffs’ due process claim relates solely to

 

? Again, this allegation simply ignores the fact that Plaintiff Vicki Caldwell resigned from her position at the Park
County Sheriff's Office. See Complaint at ¥j 18.

7 While it iy unclear whether Plaintiffs believe that Mr. Damon or Ms. Whiteowl were also involved in this second
conspiracy, given their failure to allege any facts which would show that either of them entered into an agreement
with the “County Defendants” to deprive Plaintiffs of their constitutional rights, this allegation also fails. See Grow
v. Fisher, supra.
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 11 of 17

the fact that Plaintiffs were terminated from their employment at the Park County Sheriff's
Office without being granted a “meaningful hearing” to refute the allegation that Charles
Caldwell had lied on his application or to refute the information provided by Mr. Damon to
Detective Flint. See Complaint at J 1, 14.* Plaintiffs have presented absolutely no evidence
(undoubtedly because no such evidence exists) which would go to show that Mr, Damon or
Ms. Whiteowl were involved, in any way, shape, or form, in denying the Plaintiffs a
“meaningful hearing.” In the absence of such evidence, Plaintiffs simply cannot maintain an
action against Mr. Damon or Ms. Whiteowl for violation of Plaintiffs’ due process rights.

Finally, Plaintiffs’ First Claim for Relief also contains rambling language alleging that
“(Plaintiffs were terminated] in an effort to chill these Plaintiffs’ rights under the First
Amendment to the United States Constitution to support a candidate for the office of Sheriff that
these Defendants opposed.” It is unclear whether these allegations are even directed towards Mr.
Damon or Ms. Whiteowl. To the extent that they are, Plaintiffs have failed to produce any
evidence that would go to show that: (1) Mr. Damon or Ms. Whiteow! were involved in the
decision to terminate Mr. Caldwell; (2) Mr. Damon or Ms. Whiteowl even knew that there was
another candidate running for Sheriff at the time they provided-information to Detective Flint;
(3) Mr. Damon or Ms. Whiteowl had knowledge that Plaintiffs intended to support said
candidate at the time they provided information to Detective Flint; or (4) Mr. Damon or Ms.

Whiteow! were opposed, in some fashion, to that candidate holding the office of Sheriff of Park

 

* 11 is of vital importance not to lose sight of the fact that the official reason for Mr. Caldwell’s termination was that
he had lied on his job application. Plaintiffs could no sooner argue that Mr. Damon or Ms. Whiteowl had a hand in
denying Plaintiffs a hearing to refute that allegation as they could assert that they wielded the power to deny them a
hearing m regard to his allegations of criminal wrongdoing. In fact, Defendants Wegener, Gore and Flint all
testified during their depositions that these Civilian Defendants did not work for the Sheriff's office and did not
make decisions regarding the termination of Sheriff's office employees.

8
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 12 of 17

County, In the absence of such evidence, Plaintiffs cannot maintain an action against Mr.
Damon or Ms. Whiteowl for their efforts to “chill” Plaintiffs’ rights under the First Amendment.

In light of all of the above, it is clear that Plaintiffs have failed to state a claim that
Defendants, Mark Damon or Shawna Whiteowl, violated their constitutional rights. As such,
Defendants Damon and Whiteowl are entitled to summary judgment on Plaintiffs’ First Claim
for Relief.

2. Act Under Color of State Law

In addition to showing that Mr. Damon and/or Ms. Whiteowl had somehow violated their
constitutional rights, Plaintiffs must also prove that in so doing, Mr. Damon and/or Ms.
Whiteowl acted “under color of state law.” West v. Atkins, 487 U.S. at 48. Although the plain
language of 42 U.S.C. § 1983 provides for a remedy for deprivations of rights secured. by the
Constitution and laws of the United States when that deprivation takes place as a result of “state

5 the United States Supreme Court has provided for a cause of action against private

action,
individuals when certain standards are met. See, eg., United States v. Price, 383 U.S. 787
(1966);° Adickes v. S. FH. Kress & Co., 398 U.S. 144 (1970); Lugar v, Edmondson Oil Co., Inc.,
457 U.S. 922 (1982).: In Lugar, the Court held that private :defendants act “under color of state
law” within the meaning of § 1983 if their actions are “fairly attributable to the state.” fd. at 937.
This requirement is satisfied, the Court held, if two conditions are met. First, the “deprivation

must be caused by the exercise of some right or privilege created by the State or by a rule of

conduct imposed by the State or by a person for whom the State is responsible.” /d. (emphasis

 

+ “When Congress enacted § 1983 as the statutory remedy for violations of the Constitution, it specified that the
conduct at issue must have occurred under color of state law; thus liability attaches only to those wrongdoers who
carry a badge of authority of a State and represent it in some capacity.” NCAd v. Tarkanian, 488 U.S. 179, 191
1988).

Uso Price is believed to be the originator of the “willful participant in a joint activity” language relied upon by
the Plaintiffs in their complaint. As stated by the court in Price: “To act ‘under color’ of law does not require that
the accused be an officer of the State. It is enough that he is a willful participant in joint activity with the State or its
agents.” 383 U.S, at 794.
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 13 of 17

added). Second, the party charged with the deprivation must have “acted together with or ....
obtained significant aid from state officials” or engaged in conduct “otherwise chargeable to the
State.” Id.

Applying these standards to the present case, it becomes clear that Defendants Damon
and Whiteowl did not act “under color of state law.” First and foremost, it is the “deprivation” of
4 constitutional right that must be caused by a person for whom the State is responsible. It is not
enough simply to allege that Mr. Damon and Ms, Whiteowl “acted in concert” with Detective
Flint, when that concerted action did not result in the deprivation of Plaintiffs’ constitutional
tights. Again, according to Plaintiffs’ own allegations: “Plaintiffs have been deprived of liberty
interests without due process of law, never been given any opportunity in a meaningful hearing
to refute the wholly false and severely damaging information related in the report of this
investigation.” See Complaint at 71. Plaintiffs also claim “At no time was Mr. Caldwell given a
meaningful opportunity to refute the false allegation that he had lied [on his application].” See
Complaint at { 14. Plaintiffs have made no allegation, nor could they support one, that Mr.
Damon or Ms. Whiteowl were involved, in any fashion, in the decision to deny Plaintiffs a
“meaningful hearing” in regard to either the allegations of criminal-conduct or-to the mistruths
contained in his employment application,’

Numerous federal and state courts throughout the United States have addressed this issue
in regard to situations with factual parallels to the present case. Overwhelmingly, these cases

have held that individuals such as Mr. Damon and Ms. Whiteowl were not “acting under color of

 

” Simply because Plaintiffs consider Mr. Damon’s and/or Ms, Whiteowl'’s conduct to be objectionable does not
mean that such conduct rises to the level of a constitutional violation. As the Supreme Court held in NCAA v.
Tarkanian: “Embedded in our Fourteenth Amendment jurisprudence is a dichotomy between state action, which is
subject to scrutiny under the Amendment’s Duc Process Clause, and private conduct, against which the
Amendment affords no shield, no matter how unfair that conduct may be. [citations omitted] As a general
matter the protections of the Fourteenth Amendment do not extend to ‘private conduct abridging individual rights.””
488 1S. at 191 (emphasis added).

10
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 14 of 17

state law” for purposes of § 1983 when they provided information to law enforcement or other
state officials. For example, in Young v, Arkansas Children’s Hospital, 721 F. Supp. 197 (E.D.
Ark. 1989), the plaintiff had filed a § 1983 suit against the hospital based on the fact that hospital
employees had furnished information relating to possible child abuse to the appropriate state
agencies. In denying the plaintiff's claim, the court held:

(T]he mere furnishing of information by a private party to a law

enforcement official, even if the information is false, is not

sufficient to constitute joint activity with State officials in

prohibited action or to state a claim against a private party under §

1983, [citation omitted] Nor is merely testifying at trial sufficient

to state a § 1983 claim.
Young, 721 F. Supp. at 198 (emphasis added). The court came to the same conclusion in Butler —
v, Goldblatt Bros., Inc,, 589 F.2d 323 (7" Cir. 1979), where various employees filed a civil rights
action against their former employer for providing information to the police. In denying the
plaintiffs’ claims, the court held:

{W]e are again unable to find in the record any significant

evidence to suggest that [defendant] did anything more than

supply information to police officers who then acted on their

own initiative in arresting [plaintiff]; and we decline to hold that

the mere act of furnishing information to law enforcement officers

constitutes “joint (activity) with state officials in the Prohibited

action [...].”
Butler, 589 F.2d at 327 (emphasis added). Similarly, in Oechino v. Lannan, 150 F.R.D, 613 (D.
Minn. 1993), the plaintiff alleged:

Without cause or justification and with intent to deprive plaintiff of

his federal and state constitutional rights [...] defendant Tallberg

called the police department and complained to the department
about plaintiff's [activities].

/d. at 616. In denying the plaintiff relief, the court held: “It is universally recognized, however,

that the mere furnishing of information to police officers docs not constitute joint action under

11
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 15 of 17

color of State law which renders a private citizen liable under Section 1983.” Jd, at 623, In
support of this statement, the court cited to the following cases: Sarmienta v. Texas Board of
Veterinary Medical Examiners, 939 F.2d 1242, 1246 n, 5 (5" Cir, 1991); Daniel v. Ferguson,
839 F.2d 1124, 1130 os" Cir. 1988); Sims v. Jefferson Downs Racing Association, 778 F.2d
1068, 1078-79 (5" Cir. 1985); Mark v. Furay, 769 F.2d 1266 (7" Cir, 1985); Moore v,
Marketplace Restaurant, Ine., 754 F.2d 1336, 1352 (7 Cir. 1985); Benavidez v. Gunnell, 722
F.2d 615, 618 (10" Cir, 1983); Arnold v. International Business Machines, 637 F.2d 1350 (9
Cir. 1981); Tarkowski v. Robert Bartlett Realty Co., 644 F.2d 1204, 1206 (7th Cir, 1980); Butler
v. Goldblatt Broas., Inc., 589 F.2d 323, 326-27 (7th Cir, 1978), cert, denied, 444 U.S. 841, 100
8.Ct. 82, 62 L.Ed.2d 53 (1979); Taliaferro v. Voth, 774 F. Supp. 1326, 1331 (D. Kan. 1991);
Young v. Arkansas Children’s Hosp., 721 F. Supp. 197, 198 (E.D. Ark. 1989); Parker v. Hearn,
695 F. Supp. 1421, 1425 (E.D.N.Y. 1988); Araemer v. Padgett, 685 F. Supp. 1166, 1168 (D.
Kan. 1987), Holdeman v. Consolidated Rail Corp., 649 F. Supp. 1188, 1196 (N.D. Ind. 1986),
aff'd, 840 F.2d 20 (7" Cir. 1988).

All of the above-referenced cases stand for virtually the same proposition that
Defendants, Mark Damon and Shawna Whiteowl, proffer to this Court today, namely: the mere
furnishing of information to Detective Flint for purposes of his investigation does not elevate
their conduct to the level of “acting under color of state law” for purposes of § 1983. As such,
Plaintiffs have failed as a matter of law to establish thetr claim against either Mr. Damon or Ms.
Whiteowl under § 1983. Therefore, both Mr. Damon and Ms. Whiteowl are entitled to summary

judgment on Plaintiffs’ First Claim for Relief.

12
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 16 of 17

CONCLUSION

Plaintiffs have fatled, as a matter of law, to satisfy the requirements of a § 1983 claim

against Mark Damon or Shawna Whiteowl. Therefore, both Mr. Damon and Ms. Whiteowl are

entitled to summary judgment on that claim.

WHEREFORE, for the foregoing reasons, Defendants Damon and Whiteow] respectfully

request that this Court enter judgment in their favor as to Plaintiffs’ First Claim for Relief.

Dated this 16th day of June, 2008.

Respectfully submitted,

LAW OFFICE OF DENNIS W, HARTLEY, P.C.

By: &/ Michael K. Obernesser
Michael K. Obernesser (#38766)
Attorneys for Defendant,

Mark Damon

1749 8. Eighth St., Ste. 5 .
Colorado Springs, CO 80906
(719) 635-5521

LAW OFFICE OF STEVEN U. MULLENS, P.C.

By: 5/ Richard M. Lamphere
Richard M. Lamphere (#22144)
Attomey for Defendant,
Shawna Whiteowl
105 E. Moreno Ave.

Colorado Springs, CO 80903
(719) 632-5001

13
Case 1:07-cv-00371-RPM Document 41 Filed 06/16/08 USDC Colorado Page 17 of 17

CERTIFICATE OF SERVICE

1 certify that on the 16th day of June, 2008 a true and correct copy of the foregoing
Defendants Mark Damon’s and Shawna Whiteowl’s Joint Motion for Summary Judgment
was filed via electronic filing which will serve same to the following:

James A. Reed, Esq.

JAMES A. REED, P.C.

320 $. Cascade Ave.

Colorado Springs, CO 80903

(719) 636-9343

Fax: (719) 633-2355
jreedpc@)aol.com

Attorney for Plaintiffs,

Charles Caldwell and Vicki Caldwell

Andrew D. Ringel, Esq.

HALL & EVANS, LLC

1125 17™ St., Ste. 600

Denver, CO 80202-2052

(303) 628-3453

Fax: (303) 628-3238
nngela(@hallevans.com

Attomeys for Defendants,

Fred Wegener, Monte Gore,
Gregory Flint and Stephen Groome

5/ Robyn Lorneill
Robyn Lornell
Paralegal

14
